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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


UNITE HERE HEALTH, et al.,                            )
                                                      )
                              Plaintiffs,             )       CIVIL ACTION
                                                      )
       vs.                                            )       NO. 19 C 5314
                                                      )
ML PLAZA OWNER, LLC, d/b/a HILTON                     )      JUDGE MARVIN E. ASPEN
MEADOWLANDS HOTEL,                                    )
                                                      )
                              Defendant.              )

              PLAINTIFFS' MOTION TO REOPEN CASE FOR THE
       LIMITED PURPOSE OF ENFORCING THE TERMS OF THE AMENDED
           SETTLEMENT AGREEMENT AND MUTUAL RELEASE AND
                ENTERING JUDGMENT AGAINST DEFENDANT

       NOW COME Plaintiffs, UNITE HERE HEALTH, et al., by their attorney, and move the

Court for the entry of an order reopening this action for the limited purpose of enforcing the

terms of the Amended Settlement Agreement and Mutual Release entered into between the

parties on February 24, 2020 and the Consent Decree (as Amended by the Court) entered by this

Court on December 20, 2019. In support of the Motion, Plaintiffs state as follows:

       1.      This action was originally brought by the Plaintiffs, the Trustees of the jointly-

administered, labor-management employee benefit trust fund, alleging, inter alia, that Defendant

breached its obligations under the terms of the collective bargaining agreement entered into with

New York Hotel & Motel Trades Counsel, AFL-CIO, and the Agreements and Declarations of

Trust under which the Plaintiff Funds are maintained. Specifically, Plaintiffs allege that

Defendant failed to remit payment of monthly contributions for work performed on its behalf by
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beneficiaries of the Plaintiff Fund. The Complaint was brought pursuant to the Employee

Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§1132, 1145.

       2.      On December 20, 2019, a Consent Decree (as Amended by the Court) was entered

incorporating the Settlement Agreement and Mutual Release entered into by the parties on

October 8, 2019 (a copy of the Consent Decree is attached as Exhibit 1).

       3.      Pursuant to the Consent Decree (as Amended by the Court), the Court retained

jurisdiction of this cause and all the parties for the purpose of enforcing the Consent Decree and

the terms of the incorporated Settlement Agreement and Mutual Release.

       4.      On February 24, 2020, the parties executed an Amended Settlement Agreement

and Mutual Release (a copy of the Amended Settlement Agreement and Mutual Release is

attached as Exhibit 2).

       5.      On July 1, 2020, the parties filed an Agreed Motion to Extend the Consent Decree

[Dkt. 22]. On July 2, 2020, the Agreed Motion was granted and the Consent Decree was

extended through July 1, 2021 [Dkt. 24].

       6.      Pursuant to the terms of the Amended Settlement Agreement and Mutual Release,

the Defendant agreed to pay the settlement amount of $492,126.85 over seven months at 7.25%

interest per year comprised of principal of $464,483.69, interest of $19,866.72, and interest on

the declining principal balance of $7,776.44. The Plaintiff Fund agreed to conditionally waive

the liquidated damages of $90,283.85 as long as the Defendant remained current in its obliga-

tions and its obligations to make Ongoing Contributions under Paragraph 4. Payments of

$76,819.49 each will be due on the 5th day of each month except that the first payment will be

due on October 8, 2019. The last payment due April 5, 2020 will be in the amount of $30,298.26.


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Settlement payment checks were to be mailed so they were received on or before their respective

due dates of October 8, 2019, November 5, 2019, December 5, 2019, January 5, 2020, and

February 5, 2020, March 5, 2020, and April 5, 2020., as described in Paragraph 3 of the

Amended Settlement Agreement and Mutual Release.

       7.      The Defendant was required to remit all ongoing future welfare obligations

including but not limited to: (1) monthly contributions determined to be due and owing for each

and every month no later than the close of business on the 15th day of each and every succeeding

month for which contributions are due( i.e. contributions for September are due on October 15th);

(2) rate increase amounts; and (3) future audit findings hereafter for as long as Defendant is

obligated to do so pursuant to the collective bargaining agreement.

       8.      Paragraph 5 of the Amended Settlement Agreement and Mutual Release further

provides that if Defendant is late in making any of the payments in Paragraph 3 or is late in the

payment of Ongoing Contributions under Paragraph 4, the Defendant would be in default under

the Amended Settlement Agreement and Mutual Release. Plaintiff Fund would provide notice of

the default to the Defendant through its attorney, Michael L. Stevens, via electronic mail to

michael.stevens@arentfox.com, and Defendant thereafter would have five (5) business days to

cure its default. If the Defendant did not cure the default within five business days, Plaintiff Fund

has the right to: (1) file a motion to reopen the Lawsuit; and (2) enforce the Consent Decree and

enter judgment for the amount of $574,634.26 less amounts paid, any and all amounts previously

waived, and any attorneys’ fees and costs incurred to enforce this Settlement Agreement. If the

default of any installment payment required in Paragraph 3 or Ongoing Contributions required in




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Paragraph 4 is not cured within five business days, the liquidated damages of $90,283.85 are due

and owing and no longer conditionally waived.

       9.      On October 20, 2020, Plaintiffs’ counsel sent Defendant’s counsel an email

providing formal notice of the failure of the Defendant to abide by the terms of the Amended

Settlement Agreement and Mutual Release (a copy of the October 20, 2020 email from Plaintiffs’

counsel to Defendant’s counsel is attached as Exhibit 3).

       10.     Specifically, Defendant has not remitted payment of its monthly contributions due

for August 2020, September 2020 and October 2020 pursuant to Paragraph 4 of the Amended

Settlement Agreement and Mutual Release.

       11.     For all the reasons stated, the Plaintiffs hereby move the Court for the entry of an

Order reopening this action for the limited purpose of enforcing the terms of the Amended

Settlement Agreement and Mutual Release and Consent Decree (as Amended by the Court) and

entering judgment against the Defendant. Specifically, Plaintiffs request:

       A.      That judgment be entered in favor of Plaintiffs and against Defendant, ML Plaza
               Owner, LLC, d/b/a Hilton Meadowlands Hotel, to include the amount of
               $344,876.01, being the total amount remaining due for contributions, liquidated
               damages, interest, audit costs, court costs and attorneys’ fees for the time period
               July 2018 through October 2020 pursuant to the Amended Settlement Agreement
               and Mutual Release.

       B.      That judgment be entered in favor of Plaintiffs and against Defendant, ML Plaza
               Owner, LLC, d/b/a Hilton meadowlands Hotel, to include $3,172.50 in attorneys'
               fees incurred by the Plaintiffs to enforce the Settlement Agreement and Mutual
               Release and the Amended Settlement Agreement and Mutual Release.

       C.      That Plaintiffs have such further relief as may be deemed just and equitable by the
               Court


                                                             /s/ Laura M. Finnegan


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                                              CERTIFICATE OF SERVICE

        The undersigned, an attorney of record, hereby certifies that on or before the hour of 5:00
p.m., this 9th day of November 2020, she electronically filed the foregoing document (Motion to
Reopen) with the Clerk of Court using the CM/ECF system which will send notice to the
following CM/ECF participant:

                                           Anthony J. Monaco
                                           Swanson Martin & Bell, LLP
                                           330 N. Wabash Ave., Suite 3300
                                           Chicago, IL 60611
                                           amonaco@smbtrials.com


                                                                            /s/ Laura M. Finnegan


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